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                THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK


   LIVEVIDEO.AI CORP
         Plaintiff,                          CIVIL ACTION
   vs.                                       C.A. NO. 1:24-CV-06290

                                       PLAINTIFF’S MEMORANDUM OF
                                       POINTS AND AUTHORITIES IN
                                       SUPPORT OF ITS FRCP RULE
                                       60(B3) MOTION TO VACATE

   SHARI REDSTONE,
   NATIONAL AMUSEMENTS, INC.,
   CHRISTINE VARNEY,
   MONICA SELIGMAN,
         Defendant’s.
   ____________________________________/


   PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN
   SUPPORT OF ITS FRCP RULE 60(B3) MOTION TO VACATE
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           Plaintiff LiveVideo.AI Corp ("Plaintiff" or "LVA") respectfully submits

   this Motion to Vacate the December 11, 2024, Order (Dkt. No. 66, Ex. A)1

   pursuant to Federal Rule of Civil Procedure 60(b)(3) on the grounds that the

   Order was obtained through fraud, misrepresentation, and misconduct by

   Defendant National Amusements, Inc. ("NAI").

           As demonstrated below, NAI intentionally deceived the Court

   regarding critical issues of service of process, the identity of its registered

   agent, and claiming Plaintiff acted in contempt of the Court by filing a denied

   proposed second amended complaint, resulting in Orders that gravely

   prejudiced Plaintiff.


                                 PRELIMINARY STATEMENT

           Relief under Rule 60(b)(3) is warranted because NAI's misconduct

   prevented Plaintiff from fully and fairly presenting its case, resulting in an

   Order     that     unjustly     prejudiced      Plaintiff's     rights    and     impeded       the

   administration of justice. This motion demands the vacating of the Court's

   December 2024 Orders—orders tainted by NAI's letter-motion that falsely

   asserted errors in service and misidentified key entities in an effort to set

   aside the Certificate of Default entered against it on December 9, 2024. NAI’s

   letter-motion contained rampant misrepresentations regarding: (1) the

   authenticity of its service; (2) the true identity of its registered agent in

   1 And as necessary or alternatively in addition, the December 18, 2024 Order vacating the granted

   Dec. 9, 2024 NAI Default. (Dkt No. 69)


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   Maryland; and (3) the Plaintiff taking an action that would have clearly

   prejudiced the defendant and put Plaintiff in contempt of court by filing a

   denied second amended complaint (Dkt. 44). These willful deceptions

   amounted to fraud on the Court and directly led to the damaging issuance of

   the December 11 Order.2

         The overwhelming evidence shows that NAI was indeed properly

   served on November 6, 2024, through its duly appointed registered agent,

   The Corporation Trust Incorporated. NAI’s claim that it “has never been

   properly served in this action” is nothing short of a premeditated lie,

   skillfully designed to shirk legal responsibilities and subvert the judicial

   process. Even more, NAI intentionally muddled the identity of its registered

   agent, carelessly conflating The Corporation Trust Incorporated with CT

   Corporation—two entirely separate entities—further confusing the Court and

   inflicting severe prejudice on Plaintiff. These false claims and


   2The several false statements in the defendant's ECF letter misled the
   Magistrate into issuing an Order To Show Cause (OSC). The Plaintiff was
   prejudiced in multiple ways:

   1. In the Dec. 18 letter motion, the defendant admitted that being served
   with Dkt. No.44, as claimed in the Dec. 9 letter motion, was false.

   2. On Dec. 18, the defendant raised a new issue, stating that it wasn’t Dkt .44
   but Dkt. No. 32; citing a harmless error—a cover page discrepancy—as an
   excuse for not responding to service of process.

   2. Instructed the Plaintiff to "refile" Dkt No 32 as the First Amended
   Complaint.

   3. Opted to treat the "Second Amended Complaint" cover page title as a
   scrivener's error.

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   misrepresentations are repeated on at least four different occasions: the

   December 11 and December 18, 2024 ecf letter motions, a January 27, 2025

   sur reply (Dkt. No. 73), and a March 26, 2025 Opposition (Dkt. No. 133 )

           Relief under Rule 60(b)(3) is not just warranted—it is essential—

   because NAI’s malicious conduct has obstructed Plaintiff’s ability to fully and

   fairly present its case; consequently, the Order stands as a flagrant injustice

   that undermines Plaintiff’s rights.


                            FACTUAL BACKGROUND

   A.      Service of Process on NAI

           On November 6, 2024, Plaintiff properly served NAI through its

   registered agent in Maryland, The Corporation Trust Incorporated. (See

   Declaration In Support, at 2, Ex. 1)

           This service was executed by process server Bob Roberts, who hand-

   delivered the summons and amended complaint to a receptionist at The

   Corporation Trust Incorporated, as documented in his declaration submitted

   to this Court. (Dkt. 56) which further included time stamp photographic

   evidence.    The process server's declaration confirms that he served an

   amended complaint which the first line on page 1 states “Plaintiff…hereby

   alleges, for its First Amended Complaint against Defendants,”. This amended

   complaint, Dkt. 32, was further incorporated into Plaintiff's Reply to the

   Magistrate's Order to Show Cause (Dkt. 33), (See Dkt No. 127 at 7 section

   ‘v.’)



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   B.    NAI's Misrepresentations to the Court

         On December 11, 2024, NAI filed a letter-motion (Dkt. 65) claiming it

   "has never been properly served in this action" and requesting that the Court

   set aside the default entered against it on December 9, 2024. In this letter-

   motion, NAI made several material misrepresentations:

         First, NAI falsely claimed it had not been properly served, despite the

   evidence showing that proper service was effectuated on November 6, 2024,

   through its registered agent. Second, NAI deliberately confused the identity

   of its registered agent by suggesting that CT Corporation was served instead

   of The Corporation Trust Incorporated. Third, NAI misrepresented which

   complaint was served, creating confusion about whether Plaintiff had served

   a complaint that the Court had denied leave to file.


   C.    The Court's December 11, 2024 Order

         Based on NAI's misrepresentations, the Court issued an Order on

   December 11, 2024 (Dkt. 66), directing Plaintiff to submit admissible

   evidence identifying exactly what was served on NAI and in what manner.

   This Order was directly influenced by NAI's false statements regarding

   service of process and the identity of its registered agent.


   D.    Defendant’s Dec 18 Letter Motion Claims New Technical Error

         NAI's misconduct did not end with its December 11 letter-motion. In

   subsequent filings, NAI continued to misrepresent facts regarding its

   registered agent and the service of process. For example, in its December 18,


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   2024, filing (Dkt. No. 68), NAI persisted in its mischaracterization of the

   service of process, failing to acknowledge that it had been properly served

   and by falsely claiming a source which is the defendant’s incorrect registered

   agent.

            “Given the guidance offered by Section 1(d) of Your Honor’s Individual
            Practices, and given Livevideo’s own admission that it served the SAC,
            NAI has not submitted copies of the documents served on CT Corp. or
            an affidavit in support of the same. “ (Dkt. 68)

            The NAI letter motion on December 18 successfully overturned the

   default judgment by introducing a new claim for the first time, based on a

   technicality that was not addressed in the earlier December 11 NAI letter

   motion. This new claim arose after NAI compelled the Plaintiff to provide

   evidence through misleading the Magistrate into issuing an OSC and the

   OSC helped NAI find a new technical flaw that had not been raised before.

   The previous defendant's claim used to initiate the OSC was proven false,

   constituting a deliberate fraud on the court. Consequently, the defendant

   quietly withdrew the claim that docket No. 44's proposed second amended

   complaint had been served on them.

            By identifying a minor error – the Plaintiff serving docket No. 32

   instead of docket No. 35, which the defendant deemed as the "operative"

   first amended complaint – the defendant managed to set aside the default

   judgment. Notably, the Plaintiff was not given a chance to respond to the

   defendant's motions from December 8 and December 11.




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         The Plaintiff has argued that docket No. 32 was sufficient to comply

   with FRCP Rule 4 and inform NAI accordingly (see Dkt No. 127 at section

   “v.”). The fact that the defendants claimed they had reviewed all versions

   of the complaints in their FRCP Rule 11 notice from December 31, 2024,

   serves as strong evidence adequate notice was provided.

         E.     NAI's Continued False Identity Misconduct

         NAI continued its deceit through a January 27, 2025 filing (Dkt. No.

   73) containing the demonstrably false claim that "CT Corporation is the

   well-known tradename of The Corporation Trust Incorporated." This

   statement was made to attempt to fix prior false statements regarding CT

   Corporation and further to confuse the Court and create the impression

   that Plaintiff had served the wrong entity, when in fact Plaintiff had

   properly served NAI's registered agent. This statement is demonstrably

   false, as CT Corporation is a separate company from The Corporation

   Trust Incorporated. This agent false identity hoax is an ongoing

   scheme defendants continue to attempt to exploit having targeted

   the Magistrate and now the District Court Judge through their

   opposition (Dkt. No. 133) to Plaintiff’s Objection.

         The violations continued and in addition the scope expanded

   on March 26, 2025, with defendant’s Dkt No. 133 opposition or

   reply papers fabricating Orders of this court to attempt to mislead

   the District Court Judge into supporting defendant’s previous


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   December 11 and December 18 letter motion false statements about

   CT Corporation (‘CT Corp’), claiming Magistrate cites “CT Corp” in

   the order which is false and easily debunked.3


   F. FRCP 7.1 CERTIFICATION OMISSIONS

          NAI failed to file its FRCP Rule 7.1 disclosure statements for over 60

   days from its first appearance, waiting until February 26, 2025– the same

   day it filed its sanctions motion. Amazingly, the FRCP 7.1 filing (Dkt. No.

   119) is still defective as the Plaintiff pointed out in a March 2025 Reply to

   Sanctions. Fraud upon the court requires intentionality. See Duka,

   2021 U.S. Dist. LEXIS 186975, at *10-11 (describing fraud upon the

   court as requiring a party to “act[] knowingly,” to “sentiently set in

   motion some unconscionable scheme,” or otherwise “deliberately,”

   “intentionally[,] and repeatedly” act). Giurca v. Montefiore Health

   Sys., 18-cv-11505 (ER) (BCM), 7 (S.D.N.Y. Mar. 20, 2024). The

   February 26, 2025, FRCP 7.1 filing is defective because it fails to

   disclose the fact that according to Paramount's own S4 filings and

   defendant NAI's recent SEC filings, 80% of NAI’s stock is owned by

   another entity which is controlled by an LLC. Therefore, NAI’s FRCP


   3"Magistrate Judge Moses…observed that “[i]t seems unlikely that Ms. Redstone was
   personally served at the Maryland office of CT Corporation.”

   When in fact the statement revealed by docket 48 Order is:
   "It seems unlikely that Ms. Redstone was personally served at the Maryland office of
   The Corporation Trust Incorporated” Ninth of Ten False or Misleading Statements –
   Mar 26, 2025 (Dkt 133, at 8 footnote 8 and see Declaration In Support at 11)

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   7.1 filing contains material omissions and is false when compared to

   Paramount's SEC filings

         For instance, the most recent amended S4 admits (i) NAI is

   controlled by another entity and such percentage ownership is greater

   then the FRCP 7.1 disclosure statement's 10% threshold (ii) the

   existence of the 80% parent of NAI is necessary to make regulatory

   filings stating: " Lawrence Ellison, Sumner M. Redstone National

   Amusements Part B General Trust (also known as Part B General

   Trust), and Skydance filed HSR Act Notification and Report Forms on

   July 19,2024 with respect to the Transaction that will bring entities

   controlled by the Ellison family into collective control of NAI and

   Paramount while merging Skydance into Paramount."

         This is detailed on page 2 footnote of March 12, 2025, opposition

   (Dkt No. 127) however defendants opted not to respond nor fix the

   clearly still defective FRCP 7.1 disclosure statement, nor explain why

   the defendant failed to file it timely in December 2024.


   G. NAI's Default Status, SEC Disclosure Violations, Misleading FCC

      The Defendant's conduct prevented the Plaintiff from fully and fairly

   presenting its case in several key ways:

      The Defendant falsely claimed it was never properly served, when

   Maryland law clearly establishes that service through Corporation Trust was

   valid and equivalent to personal service under MD Corps & Assoc. Code § 1-



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   401(b)(2); The Defendant deliberately withheld its Rule 7.1 corporate

   disclosure statements that would have established diversity jurisdiction,

   while simultaneously criticizing Plaintiff's jurisdictional allegations.

      The Defendant made multiple misrepresentations about which complaint

   it was served with and whether it had been properly served, without

      providing any affidavits to support these claims as required by De Curtis

      v. Ferrandina, 529 Fed. Appx. 85 (2d Cir. 2013); The Defendant violated

      its duty under FRCP 4(d)(1) to avoid unnecessary service expenses by

      failing to communicate alleged service defects and allowing Plaintiff to

      incur additional costs; The Defendant made false statements in multiple

      ECF letters regarding service and jurisdiction issues, which were designed

      to mislead the Court and prejudice the Plaintiff's ability to obtain default

      judgment.

         NAI's misconduct extends beyond its misrepresentations to this Court.

   Despite being in default from December 9 through December 19, 2024, NAI

   failed to disclose this material fact in its December 16, 2024, SEC S-4 filing.

   This omission constitutes a violation of securities laws and further

   demonstrates NAI's pattern of deception and disregard for legal obligations.

   Additionally, NAI made misleading statements in its January 2, 2025, filing

   with the Federal Communications Commission (FCC), where it continued to

   misrepresent the facts regarding service of process and its default status in

   this case. NAI's contradictory statements to the FCC demonstrate its bad




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   faith. NAI cannot credibly claim to this Court that it was not properly served

   while simultaneously acknowledging receipt of the complaint and responding

   to its substantive allegations in another forum. This inconsistent position is

   precisely the type of misconduct that Rule 60(b)(3) is designed to remedy. The

   Federal Rules demand candor between parties and fidelity to procedural

   truth-seeking – requirements NAI systematically flouted through its multi-

   layered deception. Courts have consistently held that manipulation of service

   procedures while maintaining active litigation participation constitutes bad

   faith warranting sanctions. In _Powerserve Int'l v. Lavi_, 239 F.3d 508, 515

   (2d Cir. 2001), sanctions were imposed when defendants exploited service

   technicalities despite clear awareness of pending actions through prior

   correspondence.

         H. Defendant’s December 9 Letter Motion

          This letter makes false misleading statements about a non-party in an

   attempt to impugn the credibility of the Plaintiff as part of defendant’s ploy

   to fabricate and falsify the claim the Plaintiff was in contempt of court for

   purportedly serving the defendant with the denied Dkt. 44 document.

         Defendant in a footnote makes a litany of misleading and false

   statements regarding the status or outcome in other legal matters that the

   Plaintiff’s CEO, a non-party, was a party to years ago or attempted to

   intervene as an individual attempting to appear in ongoing legal matters. For

   instance, the defendant misleadingly uses the same case twice to falsely




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   claim its evidence was created by multiple judges instead of the just a single

   judge in San Jose.4 In addition, the defendant fails to inform the court that

   the defendant was estopped from making its claims about the Plaintiff’s CEO

   being a vexatious litigant because of the DC District Court granting the

   Plaintiff’s request for judicial notice (Dkt. 794 in USA v. Google LLC, Case

   No. 1:20-cv-03010) which proved the San Jose District Court judge’s default

   vexatious litigant order was void for want of jurisdiction because the case was

   in the middle of a ninth circuit appeal.

                 Finally, the defendant omits the fact that it was and is

   representing Google, the defendant in the San Jose case which filed the

   motion for vexatious litigant and proceeded to obtain a default order knowing

   it lacked jurisdiction because of the ongoing ninth circuit appeal.


                                           LEGAL STANDARD

            Federal Rule of Civil Procedure 60(b)(3) provides that a court may

   relieve a party from a final judgment, order, or proceeding for "fraud

   (whether previously called intrinsic or extrinsic), misrepresentation, or

   misconduct by an opposing party." To prevail on a Rule 60(b)(3) motion, the

   movant must establish that: (1) the opposing party engaged in fraud,



   4 “Mr. Greenspan, Livevideo’s chief executive officer, is a serial litigant who has misused the court system

   to air personal grievances and harass perceived enemies. See, e.g., Dkt. No. 35-1 at 3, 64 (attaching emails
   and court filings from Mr. Greenspan); Greenspan v. IAC/InterActivCorp, 14- cv-04187-RMW, 2016 WL
   5724972, at *2 (N.D. Cal. Sept. 30, 2016) (discussing Mr. Greenspan’s history of “litigat[ing] or
   attempt[ing] to litigate claims arising out of the MySpace sale in several other cases”). Another federal
   court has declared Mr. Greenspan a “vexatious litigant,” sanctioned him, and ordered him to pay other
   parties’ attorney’s fees based on his “practice of filing frivolous motions.” See Greenspan, 2016 WL
   5724972, at *2-3”


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   misrepresentation, or other misconduct; and (2) this misconduct prevented

   the movant from fully and fairly presenting its case. See State Street Bank &

   Trust Co. v. Inversiones Errazuriz Limitada, 374 F.3d 158, 176 (2d Cir.

   2004).

            The Second Circuit has held that "a court may grant a Rule 60(b)(3)

   motion if it finds that the conduct complained of prevented the moving party

   from fully and fairly presenting his case." Catskill Development, LLC v. Park

   Place Entertainment Corp., 286 F. Supp. 2d 309, 315 (S.D.N.Y. 2003) (citing

   Ty Inc. v. Softbelly's, Inc., 353 F.3d 528, 536 (7th Cir. 2003)). The movant

   must establish the alleged fraud, misrepresentation, or misconduct by clear

   and convincing evidence. See Fleming v. New York Univ., 865 F.2d 478, 484

   (2d Cir. 1989).


                                    ARGUMENT

   I. NAI Obtained the OSC Through Fraud, Misrepresentation, Misconduct

            NAI's letter-motion of December 11, 2024, which led to the Court's

   same day OSC was rife with material misrepresentations that constitute

   fraud on the Court under Rule 60(b)(3). These misrepresentations directly

   influenced the Court's decision to issue the December 11 and December 18

   Orders and prevented Plaintiff from fully and fairly presenting its case. The

   several false statements in the defendant's ECF letter misled the Magistrate

   into issuing an Order to Show Cause (OSC). The Plaintiff was prejudiced in

   multiple ways:



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           1. No opportunity to respond to the December 9, 2024, defendant ECF

           letter motion before the OSC was issued.

           2. Allowed to reply only on whether the Plaintiff was in contempt for

           attempting to file document No. 44 as a Second Amended Complaint

           (SAC).

           3. Defendant's false claims led to an evidence waiver being granted,

           supporting their Dec 9 claim that they were served with Dkt No. 44.

           In the December 18 letter motion, the defendant raised a new issue,

   claiming it wasn't Dkt. 44 but Dkt. No. 32 that was problematic. Defendant

   now cited a harmless error on the cover page of Dkt. No. 32 as the reason for

   not responding to service of process.5

           The Court had already ruled Dkt No. 32 was a First Amended

   Complaint in a Sep. 19, 2024, minute order. Both the Court and Magistrate

   approved the pleading after reviewing Dkt 32 on Sep. 13, 2024, as well as Dkt

   No. 33, the reply to the Magistrate Sep 11. OSC. The FAC was filed on Sep.

   13, to comply with the Magistrate's deadline for Dkt. No. 32.

   The Court's actions in response:

           1. Reviewed Dkt. No. 32 and approved it as a sufficient First Amended

           Complaint.

           2. Directed that Dkt No. 32 be refiled on Sep 19, 2024, implicitly

           acknowledging the scrivener's error but not considering it serious

   5 the defendant quietly dropping the spurious false claim in the Dec 18 letter motion implicitly

   concedes the issue of being served with the denied proposed second amended complaint (Dkt. No.
   44) as alleged in the Dec. 9 letter motion, was not true.


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         enough to invoke another Magistrate OSC or not be accepted for

         serving on the defendant.

         3. Further considered the amendments in Dkt No. 33 as addressing the

         issues raised in the Magistrate's Order and confirming the intent for

         Plaintiff to use Dkt No. 32 as the First Amended Complaint (FAC).


         A. NAI Misrepresented the Service of Process

         NAI's central claim—that it "has never been properly served in this

   action"—is demonstrably false. As evidenced by the declaration of process

   server Bob Roberts, NAI was properly served on November 6, 2024, through

   its registered agent, The Corporation Trust Incorporated. (Dkt. No. 56, 61,

   62). This service complied with Federal Rule of Civil Procedure 4(h)(1)(B),

   which permits service on a corporation by delivering a copy of the summons

   and complaint to an agent authorized by appointment or by law to receive

   service of process. NAI's blanket denial of service, without any supporting

   affidavit or evidence, constitutes a misrepresentation to the Court. The

   Second Circuit has established that "the affirmative testimony of the official

   process server acting in the regular routine of duty without a motive to

   misrepresent must be preferred to the negative evidence of one claiming not

   to have been served." Old Republic Ins. Co. v. Pacific Fin. Servs. of Am., Inc.,

   301 F.3d 54, 57 (2d Cir. 2002). NAI failed to provide any affidavit or

   declaration denying receipt of service, relying instead on conclusory

   statements in its letter-motion. See De Curtis v. Ferrandina, 529 Fed.Appx.



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   85, 85-86 (2d Cir. 2013) (summary order) (holding that "server's sworn

   statement of service creates a presumption that service has been

   effectuated").


         B. NAI Deliberately Confused the Identity of Its Registered Agent

         NAI's misrepresentations extended to the identity of its registered

   agent. In its January 27, 2025, filing, NAI falsely claimed that "CT

   Corporation is the well-known tradename of The Corporation Trust

   Incorporated." This statement is patently false, as CT Corporation is a

   separate and distinct entity from The Corporation Trust Incorporated.

         This deliberate confusion was designed to create the impression that

   Plaintiff had served the wrong entity, when in fact Plaintiff had properly

   served NAI's registered agent. NAI's misrepresentation regarding its

   registered agent directly influenced the Court's perception of whether proper

   service had been effectuated, leading to the issuance of the December 11 Dkt

   No. 66 Order. NAI's first false claim that it had not been properly served led

   the Court to issue the December 11, 2024 Order, which shifted the burden to

   Plaintiff to prove proper service rather than requiring NAI to rebut the

   presumption of proper service with admissible evidence. Defendant’s

   procedural   advantage    obtained   through    misrepresentation    prevented

   Plaintiff from fully and fairly presenting its case. This misrepresentation

   prevented Plaintiff from fully and fairly presenting its arguments regarding

   the validity of service. Third, NAI's misleading statements about its



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   registered agent created unnecessary confusion about whether the proper

   entity had been served, further preventing Plaintiff from fully and fairly

   presenting its case.


           C. NAI Misrepresented Which Complaint Was Served

           NAI inaccurately implied that Plaintiff improperly served Dkt No. 44,

   a proposed second amended complaint denied by the Court. In fact, Plaintiff

   served the first amended complaint filed on Sep. 13, 2024, to meet the

   Magistrate's OSC deadline. This complaint, Dkt. No 32, was acknowledged by

   the court and required re-filing on September 16, 2024, due to incomplete

   party listings in the ecf. The Magistrate had accepted, approved, and waived

   objection to these amendments, as evidenced by the fact that the specific

   paragraphs Plaintiff sought to amend were provided in Dkt 33 reply to the

   OSC, ensuring clarity regarding the final amendments. Therefore, using Dkt.

   No. 32, the intended 51 page First Amended Complaint as legal notice was

   sufficient to effect service of process when attached with a good summons.6

           D. NAI Scheme Contravened Standing Orders And Local Rules.

           The defendant's use of informational ECF letters as a compliant

   motion 55 violates the SDNY Local Rules, ECF rules, and Judge Ho's

   individual practices. The December 11 letter is not a valid letter-motion and

   cannot be transformed into one. It also fails to comply with various local rules


   6 Defendants further mislead the court in December 18, 2024 letter motion by claiming that Dkt No.

   32 is also another Second Amended Complaint for the superficial reason of a scrivener
   Error on the cover of the Dkt. No. 32 which is titled “Second Amended Complaint” yet corrected on
   the same page by the plain text in the opening sentence: “First Amended Complaint”.


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   regarding notices, memoranda, and supporting affidavits. Defendant would

   have lacked ability to mislead the Court if they had complied with Standing

   Order 2(a)(iv) of Judge Ho rather than sidestepped, undermining the

   safeguards he put in place to ensure fairness. (See Declaration In Support at

   3-8)


   II. NAI Misconduct Prevented Full and Fair Case Presentation

          NAI's fraud, misrepresentation, and misconduct prevented Plaintiff

   from fully and fairly presenting its case, as required for relief under Rule

   60(b)(3). See State Street Bank & Trust Co., 374 F.3d at 176.


          A. NAI's Misrepresentations Led to an Order That Prejudiced Plaintiff

          The Court's December 11, 2024, Order, which was issued in direct

   response to NAI's misrepresentations, prejudiced Plaintiff by:

             1. Placing an undue burden on Plaintiff to provide additional

                evidence of service, despite the fact that proper service had

                already been effectuated.

             2. Creating confusion about which complaint had been served,

                when in fact Plaintiff had served the complaint that was

                properly incorporated into its Reply to the Magistrate's Order to

                Show Cause;

             3. Delaying the proceedings and allowing NAI to evade its legal

                obligations, including its obligation to respond to the complaint

                within the time prescribed by the Federal Rules of Civil


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                 Procedure. The OSC was inequitable, wrongly shifting a motion

                 to vacate default’s evidence burden, after defendant misled the

                 court. The misled magistrate overlooked key facts in granting

                 the OSC order: 1. The defendant's December 11 letter lacked

                 evidence admissible under controlling law. 2. The conclusory

                 statement credited by the magistrate was sourced from a

                 foreign-owned company which is not the registered agent of the

                 defendant. 3. The December 11 Magistrate Order was based on

                 a false statement. 4. The OSC was fraudulently induced.

   Overlooked key matters regarding service of process: 1. CT Corp is not

   Corporation Trust Incorporated - the correct registered agent. 2. Process

      server successfully served Corporation Trust Incorporation. 3. Defendant's

      argument was flawed: a. No affidavit provided b. Based on information

      from CT Corp, an unrelated company 4. CT Corp is the wrong registered

      agent for this case. 5.

   Corporation Trust Incorporated is the correct registered agent, as proven by

   plaintiff's affidavit.


          B. NAI's Misconduct Impeded the Administration of Justice

          NAI's misrepresentations not only prejudiced Plaintiff but also

   impeded the administration of justice. By deliberately misleading the Court

   about the service of process and the identity of its registered agent, NAI




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   undermined the integrity of the judicial process and wasted judicial

   resources.

         Furthermore, NAI's failure to disclose its default status in its

   December 16, 2024, SEC S-4 filing constitutes a violation of securities laws

   and demonstrates a pattern of deception that extends beyond this litigation.

   This pattern of misconduct further supports the conclusion that NAI's

   misrepresentations to this Court were deliberate and designed to gain an

   unfair advantage in the litigation.

         1. The Delaware January 2025 Decision Provides Additional Evidence
            of NAI's Pattern of Misconduct

         The Delaware Court of Chancery's January 29, 2025, decision in State

   of Rhode Island Office of the General Treasurer v. Paramount Global

   provides additional evidence of NAI's pattern of misconduct and supports

   vacating the December 11, 2024 Order. In that case, Vice Chancellor Laster

   found "a credible basis to suspect that Redstone torpedoed the Company-level

   Skydance Deal because it would not provide her with the benefits she

   wanted." This finding directly relates to NAI's conduct in this case, as it

   demonstrates a pattern of deceptive behavior by NAI and its controlling

   shareholder, Shari Redstone.

         The Delaware decision concluded that "the record as a whole

   demonstrates by a preponderance of the evidence that the stockholder has a

   credible basis to suspect wrongdoing." The court specifically found that "the

   record supports an inference that Redstone could extract more value from a



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   sale of NAI than from a Company-level sale" and that "it also supports an

   inference that Redstone steered the sale process to achieve that result."

         These findings are relevant to the present motion because they

   establish that NAI and its controlling shareholder have engaged in a pattern

   of deceptive conduct to advance their own interests at the expense of others.

   This pattern of misconduct makes it more likely that NAI deliberately

   misrepresented the service of process issue in this case to evade liability.


         2. NAI's Subsequent SEC Filings Contain Material
            Misrepresentations That Further Demonstrate Its Pattern of
            Misconduct

         NAI's pattern of misconduct is further evidenced by its subsequent

   SEC filings, which contain material misrepresentations about this litigation.

   On December 16, 2024, NAI directed Paramount to file "AMENDMENT NO.

   1" to its S-4 registration statement, which falsely stated: "As of the date of

   this information statement/prospectus, the defendants have not been served."

   This statement was demonstrably false, as NAI had been properly served on

   November 6, 2024, and had even appeared in this Court on December 11,

   2024, to file a motion to vacate the default.

         NAI repeated this false statement in subsequent S-4 amendments filed

   on January 14, 2025, and February 6, 2025. These repeated

   misrepresentations demonstrate NAI's willingness to make false statements

   to courts, regulatory agencies, and the public to advance its interests. This




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   pattern of misconduct provides additional support for vacating the December

   11, 2024, Order, which was procured through similar misrepresentations.


   III. The Court Should Vacate Dec 11 Order to Prevent Manifest Injustice

         Unless the defendant can provide evidence to substantiate December
   11, 2024 false document identity claim, vacating the December 11, 2024
   Order is necessary to prevent manifest injustice. NAI's fraud,
   misrepresentation, and misconduct have already caused significant prejudice
   to Plaintiff and impeded the administration of justice. Allowing the Order to
   stand would reward NAI for its misconduct and encourage similar behavior
   in the future.

         A. NAI's Misconduct Was Deliberate and Egregious

         NAI's misrepresentations were not mere oversights or innocent

   mistakes. They were deliberate attempts to mislead the Court and gain an

   unfair advantage in the litigation. This type of egregious misconduct

   warrants relief under Rule 60(b)(3). Courts have consistently held that

   deliberate misrepresentations to the court constitute fraud on the court that

   justifies relief under Rule 60(b)(3). See, e.g., Catskill Development, LLC, 286

   F. Supp. 2d at 315-16 (granting Rule 60(b)(3) motion where defendant made

   deliberate misrepresentations to the court).

         B.     Claim Plaintiff Was In Contempt Of Court

         The December 11, 2024 letter motion, stating the Plaintiff had served

   an amended complaint "which Your Honor has already rejected as improperly

   filed. See Dkt. Nos. 47, 56, 62." was a claim the Plaintiff was in contempt of




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   Court. Docket # 47 was the Court's order denying the Second Amended

   Complaint (Dkt. No. 44). Defendant's key trick in misleading the magistrate

   into an untimely December 11, 2024, OSC7 involved:

            Falsely stating that the Plaintiff served Dkt 44 on the Defendant,

            which is the only denied amended complaint in this case.

            Claiming service with Dkt. 44, which was the exact document the

            Magistrate had specifically denied leave to file. Implying that the

            Plaintiff was acting in direct contempt of the Court's order.

            Misrepresenting the content of other docket entries (56 and 62) to

            support their false claim.

            Failing to provide evidence of the alleged improper service. This false

            accusation is the crux of the matter at hand. If Plaintiff had indeed

   served Dkt 44 to the Defendant, then clearly Plaintiff would have been acting

   in direct contempt of the Court's order.

   C.       NAI's Misconduct Was Intentional and Part of a Pattern

            Relief is warranted because the type of fraud complained of is

   repetitive as opposed to a single incident of perjury. The intentional nature of

   NAI's misconduct is evidenced by the fact that it made these

   misrepresentations repeatedly across multiple filings, demonstrating a

   "prolonged and calculated scheme" rather than an isolated incident. Giurca v.

   Montefiore Health Sys., 18-cv-11505 (ER) (BCM), 7 (S.D.N.Y. Mar. 20, 2024).


   7 “NAI reports that plaintiff attempted to serve the proposed Second Amended Complaint, id. at 1, which

   the Court previously denied leave to file. (Dkt. 47.) “ (Dkt No. 66)


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   NAI first falsely denied service entirely, then pivoted to creating confusion

   about its registered agent's identity when confronted with proof of service.

   This pattern of deception culminated in NAI obtaining the Order through

   statements it knew to be false about both the fact of service and the identity

   of its registered agent. Such intentional misconduct across three different

   filings containing at least ten false statements (see Declaration In Support, at

   11) warrants relief under Rule 60(b)(3).

   D.    The Interests of Justice Require Vacating the Order

         The interests of justice strongly favor vacating the December 11, 2024,

   Order.    NAI   should   not   be   permitted   to   benefit     from   its   fraud,

   misrepresentation, and misconduct. Vacating the Order would restore

   fairness to the proceedings and ensure that NAI is held accountable for its

   legal obligations. Furthermore, vacating the Order would send a clear

   message that fraud on the court will not be tolerated and that parties must

   be truthful in their representations to the court. This outcome would promote

   the integrity of the judicial process and deter similar misconduct in the

   future.


                             CONCLUSION

         The totality of conduct – willful misstatements about service agency

   status after proper delivery; strategic withholding of contrary regulatory

   disclosures; submission of doctored evidentiary materials – crosses from

   zealous advocacy into procedural sabotage. For the foregoing reasons,



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   Plaintiff respectfully requests that the Court vacate its December 11, 2024

   Order pursuant to Rule 60(b)(3), vacate the default of NAI, and allow the

   Clerk per Local Rules 55 to complete ministerial task of processing default

   judgment using SDNY required documents attached at Exhibit B, and grant

   such other and further relief as the Court deems just and proper.

         Dated this 6th day of May, 2025.
                                                Respectfully submitted,

                                                By_/s/ Alfred C. Constants III
                                                Alfred C. Constants III, Esq.
                                                Constants Law Offices, LLC.
                                                115 Forest Ave., Unit 331
                                                Locust Valley, NY 11560
                                                Email:Constantslaw49@gmail.com
                                                Attorney For Plaintiff




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   EXHIBIT A




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        UNITED STATES DISTRICT COURT
                                                                                             1 20 /1   4
        SOUTHERN DISTRICT OF NEW YORK
         LIVEVIDEO.AI CORP,
                            Plaintiff,                  CV-
                                                        -42 0926 DEH)
                                                                 ( BCM)
                                                                      (
                   -against-
                                                        ORDER
         SHARI REDSTONE, et al.,
                            Defendants.

        BARBARA MOSES, United States Magistrate Judge.

                 On December 9, 204, plaintiff req
                                                 uested, and
                                                           Clerk'
                                                             the s Office entered, a Certificate of

        Default against defendant
                              l A mNationa
                                    u s e m e n t s , See
                                                      I n Dkts.
                                                          c . ( N A 61-3.) IBy
                                                                             ) . ( letter-motion

        dated December ,1 ,420 NAI assertsat
                                          thit has
                                               "   never been
                                                           y sproperl
                                                               e r v eis
                                                                       d action"
                                                                         i n t h and

        "requests that the Court set nder
                                     asideFederal
                                            the default
                                                  Rule ofuCivil Procedure 5(c)[.]"

        12/4 Ltr. (Dkt. 65) at 2. NAI     reports that plaintiff
                                                            d t attempte
                                                                 o s eproposed
                                                                       r v e t hSecond
                                                                                 e

        Amended Complaint,
                      id. at 1, which the Court previously
                                                 denied leave to file. Dkt.
                                                                       (    ).74

                 Plaintiff's opposition
                                    is due
                                        letter
                                           no later  than16, 2024. See MosesInd. Prac.
                                                 December

        § 2 ( e ) . I f p l a i n tds
                                   i f that
                                       f c o n the
                                               t e nCertificate of Default should not be set aside pursuan

        R. Civ. P. (c)
                    5 , it must submit admissible evidence
                                                  e.g., an affirmation
                                                               (      aration)
                                                                       or decl identifying

        exactly what was served on NAI and in what manner.

        Dated: New York, New York               SO ORDERED.
            December 1, 204


                                                ________________________________
                                                BARBARA MOSES
                                                United States Magistrate Judge




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   EXHIBIT B




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